
Judge IIobkrtsoh
delivered the opinion of the Court.
William S. Bla'ir was a necessary party in this case. The record does not show that he was ever made a defendant.
It would-,therefore, have been right to dismiss the bill without prejudice, if the complainant had equity.
But his equity, if he showed any, was very questionable, and was of such a character as not to be entitled to the favor of the chancellor.
Moreover, the plaintiff has not complained that the bill was dismissed absolutely, instead &lt;£&gt;f being dismissed Without prejudice.
Denny, for plaintiff; Mills and Brown, for defendant.
He has assigned no error which can embrace this point.
Wherefore) the decree is affirmed.
